                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA


                                                )
IN RE:                                          )        Case No.:1:24-mc-16-MR
                                                )
UNITED STATES COURTHOUSE IN                     )
ASHEVILLE, NC                                   )
                                                )
                                                )
                                                )


                                       STANDING ORDER




       The Standing Order entered on October 3, 2024, closing the court in Asheville, NC is hereby

rescinded effective Monday, October 28, 2024. The Asheville comihouse will reopen at 8:00 am on

that date. In-person filings and mailings in cases pending in the Asheville Division can resume on

that date at 100 Otis Street, Asheville, N01ih Carolina, 28801.


       SO ORDERED.



                                              Signed: October 1'{_, 2024




                                                                      t Judge




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